           Case 1:07-cr-00254-LJO Document 16 Filed 11/05/07 Page 1 of 4


1    McGREGOR W. SCOTT
     United States Attorney
2    KIMBERLEY A. SANCHEZ
     STEPHANIE HAMILTON BORCHERS
3    Assistant U.S. Attorneys
     4401 Federal Building
4    2500 Tulare Street
     Fresno, California 93721
5    Telephone: (559) 497-4000
     Facsimile: (559) 497-4099
6
7
8                   IN THE UNITED STATES DISTRICT COURT
9                 FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )       1:07-CR-00254 LJO
                                   )
12             Plaintiff,          )       APPLICATION FOR ORDER
                                   )       REGARDING CRIMINAL FORFEITURE
13        v.                       )       OF PROPERTY IN GOVERNMENT
                                   )       CUSTODY - 18 U.S.C. §
14   CHARLES MUHAMMAD,             )       983(a)(3)(B)(ii)(II)
     aka “BUBBA,”                  )
15   GLORIA RADFORD,               )
     JOHNNY RANDLE                 )
16   DEBRA MARTIN, aka “DEE,”      )
     ROBERT SHEPARD,               )
17   ROBERT WARD, AND              )
     YOLANDA BRAZZEL               )
18                                 )
               Defendants.         )
19   ______________________________)
20        The United States of America, through its counsel, hereby
21   moves for an order allowing the Government to maintain custody of
22   property already in the Government’s possession pending the
23   resolution of a criminal forfeiture matter.        The grounds for the
24   motion are as follows:
25        On or about October 3, 2007, agents with the Bureau of
26   Alcohol, Tobacco, Firearms, and Explosives (“ATF”) executed
27   Federal search warrants at 2584 S. Walnut in Fresno, California
28   and 330 E. Tulare Street, Unit 336 in Fresno, California.             The
              Case 1:07-cr-00254-LJO Document 16 Filed 11/05/07 Page 2 of 4


1    agents seized the following assets during the execution of the
2    search warrants:
3         a)     Approximately $8,773.00 in U.S. Currency seized at
                 the residence of Charles Muhammad located at 2584 S.
4                Walnut in Fresno, California; and
5         b)     Approximately $19,010.00 in U.S. Currency seized
                 from Darrel’s Mini Storage, located at 330 E.
6                Tulare Street, Unit 336, in Fresno, California
                 held in the name of Charles Muhammad.
7
8    Hereinafter, the above-referenced assets are collectively
9    referred to as the "seized assets".
10        On October 11, 2007, the Grand Jury returned an Indictment
11   containing forfeiture allegations that include the above-
12   described assets.      The Indictment alleges that the above-
13   described assets are subject to forfeiture pursuant to 21 U.S.C.
14   § 853.
15         The applicable forfeiture statute in this case is 21 U.S.C.
16   § 853.    That statute provides several methods for preserving
17   property for the purpose of criminal forfeiture.            One such
18   provision authorizes a court upon the filing of an indictment
19   charging an offense for which forfeiture may be ordered and
20   alleging that specific property would, in the event of
21   conviction, be subject to forfeiture to "take any other action to
22   preserve the availability” of such property.           See 21 U.S.C. §
23   853(e)(1)(A).     Such restraining orders may be entered ex parte.
24   And, in entering the order, the Court may rely on the grand
25   jury’s return of an indictment specifying that the property
26   shall, upon conviction, be subject to forfeiture to the United
27   States.    See, e.g., United States v. Jamieson, 427 F.3d 394, 405-
28   06 (6th Cir. 2005) (initial issuance of restraining order under

                                           2
           Case 1:07-cr-00254-LJO Document 16 Filed 11/05/07 Page 3 of 4


1    Section 853(e)(1)(A) may be ex parte and based on grand jury’s
2    finding of probable cause).
3         The Government contends here that the "take any other action
4    to preserve the availability” of property provision of Section
5    853(e)(1)(A) applies in circumstances where, as here, the
6    Government has already obtained lawful custody of the assets
7    pursuant to a Federal search warrant, and the Government seeks to
8    continue to maintain custody of such assets pending further
9    criminal forfeiture proceedings.       Accordingly, pursuant to
10   Section 853(e)(1)(A) of Title 21, the United States respectfully
11   moves this court to issue an ex parte order based on the grand
12   jury’s finding of probable cause that directs that the United
13   States may maintain custody of the seized assets through the
14   conclusion of the pending criminal case.
15   DATED: Oct. 31, 2007                     McGREGOR W. SCOTT
                                              United States Attorney
16
17                                          /s/Stephanie Hamilton Borchers
                                             STEPHANIE HAMILTON BORCHERS
18                                           Assistant U.S. Attorney
19
20                                    ORDER
21        This matter comes before the Court on the motion of the
22   United States for an Order authorizing the Government and its
23   agencies to maintain custody of certain property pending the
24   conclusion of the pending criminal case.       For the reasons
25   provided in the Government’s motion, the Court makes the
26   following orders:
27        IT IS HEREBY ORDERED, that the United States and its
28   agencies, including the Bureau of Alcohol, Tobacco, Firearms, and

                                        3
              Case 1:07-cr-00254-LJO Document 16 Filed 11/05/07 Page 4 of 4


1    Explosives are authorized to maintain and preserve the following
2    assets until the conclusion of the instant criminal case, or
3    pending further Order of this Court:
4          a)      Approximately $8,773.00 in U.S. Currency seized at
                   the residence of Charles Muhammad located at 2584 S.
5                  Walnut in Fresno, California; and
6          b)      Approximately $19,010.00 in U.S. Currency seized
                   from Darrel’s Mini Storage, located at 330 E.
7                  Tulare Street, Unit 336, in Fresno, California
                   held in the name of Charles Muhammad.
8
9    IT IS SO ORDERED.
10   Dated:     November 2, 2007            /s/ Lawrence J. O'Neill
     66h44d                             UNITED STATES DISTRICT JUDGE
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                           4
